I respectfully dissent. I agree with the majority that the referee's reliance on the concept of judicial notice was incorrect, but disagree with its disposition of this case.
Procedural grounds dictate conflicting results. This court could affirm the judgment of the trial court because appellant's failure to file a transcript of the hearing before the referee precludes a showing of prejudice. See Chaney v. East (1994),97 Ohio App. 3d 431, 646 N.E.2d 1138. On the other hand, because appellee has not filed an appellee's brief, this court could accept appellant's statement of facts and issues and enter judgment for appellant. App. R. 18(C).1
Rather than adopting either of these procedural dispositions, however, in the interest of justice, I would remand the matter to the trial court to determine *Page 56 
whether appellant assumed the $350 in disputed costs as part of a plea bargain. In other words, I believe public interest propels us to go beyond mere assumptions for either side to avoid what might be a windfall to one party at public expense.
The majority opinion, moreover, does not clarify whether costs can be imposed other than by statute. The majority appears to hold that courts have authority to impose towing and storage costs only when the accused (1) is convicted of or (2) pleads guilty to operating an automobile with a revoked or suspended driver's license. However, the majority does not cite any authority that prevents a defendant from making an enforceable agreement to assume these costs as part of a plea bargain resulting in dismissal of the charges. Courts routinely enforce similar plea bargains. See State v. Butts (1996), 112 Ohio App. 3d 683,686-688, 679 N.E.2d 1170, 1172-1173. If defendant explicitly agreed to pay the costs as part of a plea bargain, the agreement should be upheld.
For these reasons, I would remand the matter to the trial court to clarify the basis for imposing costs on appellant, for example, by taking evidence on the applicable public records and on whether the defendant agreed explicitly rather than implicitly to pay the disputed costs.
1 This is an argument the majority does not invoke, although the result would be consistent with the majority decision.